                           Case 1:13-cr-10200-GAO Document 1 Filed 04/21/13 Page 1 of 1



                                           UNITED STATES DISTRICT COURT
                                            DISTRICT OF MASSACHUSETTS

               United States of America              )
                                                     )
                      v.                             )       Case No.    /3 - d.-/ ow rnB/3
                                                     )
               Dzhokhar Tsarnaev                     )


                                          GOVERNMENT'S MOTION TO SEAL

                      The United States Attorney hereby respectfully moves the Court to seal the complaint,

               supporting affidavit, this motion and all related documents (except for the arrest warrant) until

               further order ofthis Court. As'grounds for this motion, the government states that public disclosure

       --      of these materials might jeopardize the ongoing investigation of this case.



                                                                    Respectfully submitted,

                                                                     CARMEN M. ORTIZ
                                                                     United States Attorne~     J   Co




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                                                                     William D. Weinreb
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..         (                                                         Assistant U.S. Attorneys
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••,.           Date: April 21, 2013


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